Case 2:17-cv-01952-GEKP Docu

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kMMS as the Administrator of the Estate of Ame|ia

V. Guerra

(1)) Col.mty of Rssidence of First Listed Plaintiff
¢EXCEPTLN U.S: PLA.UVF.'IFF CASES)

Eigcequ%trigofy§mm.hi_%dms& and Tei'ephane Number)
24 Union Square East, 4th floor, New York, NY

TEL: 212-353-8700

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BRH\HEMS|NG AND CONVALESCENT, lNC.

County of Residence of Fi.rst Listed Defendant MOnigDme[!

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190 N. |ndependence Ma|| W., Suite 500. Phi|ada|phia PA19106

 

TEL: 215»665-2072

 

II. BAS!S OF JURISDICTION (Ploce an "X" in OneHox Unl'y)

 

III. ClTIZENSHlP OF PRINCIPAL PARTIES ames an "'X' in orwsaxmpminny

 

 

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Cite the U.S. Civil
29 USC § 794; 42 USC§ 1811

Brief description of cause:

VI. CAUSE OF. AC'I`ION

 

Statute under which gun are filing (Da not cite jurisdictional statutes unless diversihg):

 

 

VII. REQUESTED IN 5 cHEcK IF THIS ls A cLAss AcTIoN DEMAND s cHECK YEs only ifdsmmded in complaint
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IUDGE

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MAG. JUDGE

Case 2:17-cv-01952-GEKP Document 1 Filed 04/27/17 Page 2 of 14

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRIC'I` OF PENNS¥LVAMA -'- DESIGNATION FORM to he used by counsel tn indicate the category of the case for the purpose of
assignment to appropriate calendar. ' `

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Does this civil action involve a nongovernmental cErporate party with any parent colporafionp and any publicly held corporation owning 10% or more of' ita stock‘?

 

(Attach two copies of the Disclosnre Statement Form m accordance widr Fed.R.Civ.P. 7.1(a)) Yesl:i blow
Does this case involve multidistrict litigation possi'bilities? ' 1 Yesl:l No`%
RELA TED CASE, IF ANY: ‘

Case Numbct_‘: , lodge Dete Ter_minoted:

 

 

 

` Civil cases are deemed related when yes is answered to any ofthe following questions:

l. Is this ease related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yesn -No
2 Does this ease involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated

action' 111 this court?
ve El No}X
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

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4. Is this case a second or successive habeas corpus, social security 1113pr or pro se civil riglns case fled by the same individual?

Yes\:l NB

 

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A. Federal Quesn'or¢ Cases: 1_3. Diversfly Jun'sdict£on Cases:

1. El Indemnity Conn'aet, 'M'arine Contract, and All Other Conn'acts 1. EI Insurance Contract and Other Conttacts
2. n FELA 2. El Airplane Personal Injury

3. -E Jones Act-Personallnjury 3. El Aasault, Defarnation

4. El Alttitrust 4. El Marine Persorlal Injury

5. ll Patent 5. Cl Motor Vchicle Pel'sonal Injury

6. 13 L bor-Management Relations 6. El OtllerPcrsonal Injury (Please specify)
7. Q/Civil Rights 7. El Products Liability

8. El I-labeas Corpus 8. 121 Products Liahility---Asbestos

9. Ei Securitics Act(a) Cases 9. El All other Diversity Cases

10. El Social Security Review Cases ` (Pleese specify)

11. El All other Federal Question Cascs

(Please specify)

 

ARBITRATION CERTIFICATION
§\g §La\ L` . (Chec]c A_pprapriate Category)
£‘W'”. 9 counsel of record do hereby certify:
z’Pnrsuai:lito Local Civil Rnle 53`2, Section 3(¢)'(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of

3150,000.00 exclusive of interest and eosts;
V§elief other than monetary damages is sought w . ,

DATE: ‘_'i g `L§" g Ff %

1 certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted almve.
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@mcy-at~l.aw At‘tomcy I.D.#

  

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NOTE: A trial de novo will bc a trial by jury only if there has been compliance with F.R.C.P. 38.

 

CIV. 609 {5/2012)

Case 2:17-cv-01952-GEKP Document 1 Filed 04/27/17 Page 3 of 14

UNITED STATES DISTRICT COURT

FOR 'I'HE EASTERN DlSTR!CT OF PENNSYLVANIA - DESIGNATION FORM to lie used by counsel to indicate the category of the case for the purpose of
assignment to appropriate colendar.

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Does this case involve multidistrict litigation possibilities? YesEl Nojz.
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Civil cases are deemed related when yes is answered to any of the following questions:

l. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this conrt?
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3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered ease pending or within one year previously

terminated action in this court? YQE| N\g/

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A. Federal Question Ca.ses: B. Dr`versi¢_})..iurisdictian Cases:

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3. El Jones Act-Fersonal Injury 3. El Assault, Defamation

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9. ll Securitics Act(s) Cases 9. El All other Diversity Cascs

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ARB ITRATION CERTIFICATION
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I, &Jv“" , counsel of record do hereby certiiy
B/Pursua to Loca.l Civil Rule 53. 2, Section 3(c)(2), that to the best of my knowledge end belief, the damages recoverable rn this civil action case exceed the sum of

$150, O|JU. 00 exclusive ot`interest and costs;
B/l&lief other than monetary damages ls sought

  
 

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NOTE: A trial de novo will be a trial by jury only if there has been compliance With F.R.C.P. 38.

 

I certify that, to roy knowledge, the within ease is not related to any case now pending or within one year previously terminated action in this court l

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CIV. 609 (5/2012) ‘

_ Case 2:17-cv-01952-GEKP Document 1 Filed 04/27/17 Page 4 of 14

,]N THE UNITED STATES DISTRICT COURT
FO_R THE EASTERN DISTRICT OF RENNSYLVANIA

nn CASE MMAGEIVIENT TRACK DE§IGNATION FORM
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ln accordance with the Civil Justice E,xpense and Delay Reduction P_lan of this court, counsel for
plaintiff shall complete a Ca`se Manage`ment Track Designation Form in ali civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said g
designation, that defendant shall, With its iirst appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned ` l

SELECT ONE OF 'I`HE FOLLOWING CASE MANAGEMEN'_I` TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

_ (b) Social Security - Cases requesting review of a decision of the Secretary of l-Iealth
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration ~ Cases required to be designated for arbitration under Local CivillRule 53.2. ( )

'. 4(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. . ( )

(e) Special Mana`gement - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

, management cases.) , ( )
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Case 2:17-cv-01952-GEKP Document 1 Filed 04/27/17 Page 5 of 14

-UNITED sTATEs DISTRICT coURT
EASTERN DISTRICT on PENNSYLVANIA

 

RICKY M. GUE.RRA as the Admi'nisuator or the l

Estate of Amelia V. Guerra, v n
37 Oakland Terrace COMPLAINT
Bala Cynwyd, PA. 19004, `

,IURY TRIAL DEMANDED
Pi_a.-inarr,
V.
BRIARLEAP NURS]NG AND
coNvALEsCENT, lNC.,

 

2500 Blvd. of the Generals
Norristown, PA 19403,

Defendant.

__._.-»-uun-___

 

Plaintiff, RICKY M. GUERRA as the Adminis'trator of the Estate of Amelia V. Guerra,
by _and through his undersigned counsel, EISENBERG & BAUM, LLP, for his Cornplaint
against Defendant BRIARLEAF NURSING AND CONVALESCENT, lNC., hereby allege as

follows:

PRELIMINARY STATEMENT

 

l. Amelia Guerra was a deaf individual who communicated primarily in Arnerican
Sign Language (“ASL”), which was her expressed preferred, and most effective means of
communication Mrs. Guerra’s son, Ricky Guerra is a hearing individual who was Mrs. Guerra’s
primary caretaker and power of attorney while she was living and is now the administrator of her

estate. When Mrs. Guerra, through her son Mr. Guerra, sought admission to Briarleaf Nursing

. and Convalescent Care (hereina_fter “Briarleat”) to receive necessary convalescent care in May

2015, her admission was rescinded after staff at Briarleaf learned-that Mrs. Guerra was deaf and

 

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required an American Sign Language interpreter to communicate Briarleaf specifically `
informed Mr. Guerra that Briarleaf does not provide sign language interpreters because they are
not in the facility’s. budget
2. American Sign Language (“ASL”) _is a visual, three-dimensional, non-linear
language, and its grammar and syntax differ from the grammar and syntax of English and other
spoken languages. ASL is best thought of as a foreign language used by American deaf people,
_ with its own grammar and syntax. Deaf individuals are often educated in deaf schools and grow
up in cultura]ly Deaf environments. As a result of both physical andlenvironmental factors, deaf
individuals frequently have great difficulty achieving command of spoken or written English.
From a pedagogical standpoint, for.example, it is- difficult to understand how English works if a
personrhas never heard it. However, deaf individuals are often able to communicate with great
complexity in ASL.

- 3. Lip-reading, the ability to understand the speech of another by Watching the
speaker’s lips, is an extremely speculative means of connnunication and is no substitute for
communication through a qualified sign language interpreter. Only a small amount of the spoken
sounds of aural language are visible, and many of those appear identical on the lips. Even the
most adept lip-readers, in an ideal one-to-one situation, have been found to understand only 26%
of what is said. 7

4. For these reasons, ASL interpreters are necessary for the great majority of deaf
individuals receiving medical, nursing home, and assisted living and rehabilitation care when
that care involves complicated information, lengthy communications, or when the individual has
other conditions that make seeing or communicating through other means more difficult

y 5`. ln the context of residential medical care provided to elderly individuals, the

 

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outright refusal to provide an ASL interpreter for any situation Will result in ineffective

communication for elderly deaf residentsl Defendants thus discriminate against elderly deaf

residents and prospective residents by failing and/or refusing to provide qualified American Sign

- Language interpreters or other auxiliary aids and services to ensure effective communication
NATURE OF THE CLAIMS

6. Plaintiff seeks declaratory and equitable relief, monetary damages, and attorneys’
fees to redress Defendants’ unlawful discrimination on the basis of disability in violation Section
504 of the Rehabilitation Act of 1973, 29 U.S.C. § 791‘, Section 1557 of the l’atient Protection
and AffordableCare Act, 42 USC § 18116; and other state and common law causes of action.

n THE PAR'I`IES

7. ‘ Plaintiff RICKY GUERRA (hereinafter “Plaintiff’ or “Mr. Guerra”) brings this
action and is an individual residing at 37 Oakland Terrace, Bala Cynwyd, PA. 19004. Mr.
Guerra brings this action in his capacity as the son and administrator of the Estate of his late
mother, Amelia Guerra, who was a profoundly deaf individual.-Mrs. lGuerra communicated _'
primarily in American Sigu Language, was substantially limited in the major life activities of
hearing and speaking, and was a qualified person With a disability Within the meaning of the
Patient Protection and Affordable Care Act and the Rehabilitation Act. Mr. Guerra is hearing.

8. Defendant BRIARLEAF NURS]NG AND CONVALESCENT, lNC, at all times
hereinafter mentioned, is a corporation that has been licensed and doing business in Pennsylvania
with a principal place of business at 2500 Blvd. of the Generals, Norristown, PA 19403.
Defendant owns, leases, _andfor operates BRIARLEAF NURSING AND CONVALESCENT -
CARE, a nursing home facility located at_252 Belmont Ave, Doylestown, PA 18901. Defendant

is _a place of public accommodation under federal and state antidiscrimination laws and is a

 

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recipient of federal financial assistance, including Medicare andjor Medicaid reimbursements,
thus making Defendant subject to the requirements of Sect_ion 1557 of the Patient Protection and
Affordable Care Act and Section 504 of the Rehabilitation Act.

,"fQRISDICTION & VENUE

9. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§ 1331 and 1343 for Plaintiff’ s claims arising under federal law.

10. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because the
Defendant resides within the jurisdiction of this District, and/or a substantial part of the events
that give rise to the claims occurred in this District, and/or the Defendant has sufficient contacts
with this District to subject it to personal jurisdiction at the time this action is commenced

s'rATEMENT oF FACTS

ll. Arnelia Guerra was a profoundly deaf individual who communicated primarily
through American Sign Language.

12. AmeliaGuerra had limited proficiency in written English,' and required auxiliary
aids and services to communicate effectively in a medical setting.

13. l Ricky Guerra is Amelia Guerra’s son.

14. Ricky Guerra is hearing.

15. Amelia Guerra passed away on lune 1, 2015.

16. Ricky Guerra is the administrator of Amelia Guerra’s estate.

17. Prior to her death, Amelia Guerra was a patient of a local hospital Within the
U_niversity of Pennsylvania Health System. In May 2015, Mrs. Guerra’s discharge from the
hospital was imminent and she required condoned convalescent care.

18. The hospital referred Mrs. Guerra to three facilities, including Br_iarleaf Nursing

 

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and Convalescent Care (hereinafter “Briarleaf”).

19. Upon information or belief, of the three facilities only Briarleaf had availability
and accepted Mrs. 'Guerra’s insurance 1

20. On or about May 19, 2015, Mr. Guerra had a phone call withPeggy in Briarleaf s
admissions department wherein she informed him that Briarleaf was ready to receive Mrs.
Guerra into its facility and would accept her insurance At the end- of that conversation, Mr.
Guerra informed Peggy that Mrs. Guerra is deaf and requires a sign language interpreter. Peggy
then informed Mr. Guerra that an interpreter could not be provided for Mrs. Guerra because it
was not in the budget. Mr. Guerra asked to speak to the supervisor, Diane McGerr. At that time,
Ms. McGerr did not speak with Mr. Guerra. `

21. Upon information and belief', Defendant refused Mrs. Guerra’s admission to
Briarleaf due to Mr. Guerrals request on her behalf for sign language interpreters

22. After Mr. Guerra’s telephone conversation with Peggy on May 19, 2015, he left
two voice messages for Diane McGerr, a manager/administrator at Briarleaf, to discuss his
mother’s admission to Briarleaf. Ms. McGerr did not return those phone calls Mr. Guerra also
spoke with his mother concerning Briarleaf’s rejection

23. lVlrs. Guerra was extremely disappointed and upset about Briarleaf s rejection.
After learning that Briarleaf Would not accept her, she became dejected, and upon information n
and belief, she lost all hope of fighting for her life. Mrs. Guerra died within approximately one
week of hearing that Briar Leaf would not accept her.

24. -On May 21, 2015, Mr. Guerra sent a letter to' Ms. McGerr and Department of
, Justice, Civil Rights Division, asking that a formal investigation begin concerning Briarcliff’s

discrimination against Mrs. Guerra on the basis of disability

 

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25. O_n May 25, 2015, Ms. McGerr spoke with Mr. Guerra and informed him that
Briarleaf did not currently have the capability to provide the requested sign language interpreter
services and that they could not meet Mrs. Guerra’s needs

26. On October 7, 2016, Defendant entered into a settlement agreement with the
Department of lustice in which Defendant agreed to implement policies procedures and»training

' of its employees to ensure effective communication with individuals who are deaf and hard of
hearing.
CLAINI 1: VIOLATIONS OF S'ECTION 504 OF THE REHABILITATION AC'I`

27. Plaintiff repeats and realleges all preceding paragraphs in support of this claim.

28. At all times relevant to this action, Section 504 of the Rehabilitation, 29 U.S.C. §
794, has been in full force and effect and has applied to Defendants’ conduct. 7

29. At all times relevant to this action, the United States Department of Health and
Human Services (“HHS”) regulations implementing Section 504 of the Rehabilitation Act, 45
C.P.R. Part 84, have been in full force and effect and have applied to Defendants’ conduct.

30. l At all times relevant to this action, Mrs. Guerra had substantial limitations to the
major life activities of hearing and speaking, and was an individual with a disability within the
meaning er the nehabniraaoa Aar, 29 U.s.c¢ § 705(9).

31. At all times relevant to this action, Defendant has been a program or activity
receiving federal financial assistance pursuant to 29 U.S.é. § 794(b).

32. Section 504 of the Rehabilitation Act provides that “[n]o otherwise qualified
individual with a disability . . . shall, solely by reason of her or his disability, be excluded from n
the participation in, be denied the benefits of, or be subjected to discrimination ~under any
program or activity receiving Federa_l financial assistance.” 29 U.S.C. § 794. 7 7

33. The Rehabilitatiou Act extends standing and relief to “any-person aggrieved” by

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discrimination in violation thereof 29 U.S.C. § 794a(a)(2). ' Plaintiff is an aggrieved person as
cleaned by section 794a(a)`(2)' or the Rehabnitation Act.

34. Defendant discriminated against Mrs. Guerra, solely on the basis of disability, by
denying Mrs. Guerra meaningful access to the services,_ programs, and benefits the Defendant
offers to other individuals, and by refusing to provide auxiliary aids and services necessary to
ensure effective communication, in violation of 29 U.S.C. § 794.

35. Pursuant to Federal regulations implementing Section 504 of the Rehabilitation
Act, programs or activities receiving Federal financial assistance “must afford handicapped
persons equal opportunity to obtain the same result, to gain the same benefit, or to reach the
same level of achievement, in the most integrated setting appropriate to the person’s needs.” 45
C.F.R. § 84.4(b)(2).

36. Pursuant to Federal regulations implementing Section 504 of the R.ehabilitation
Act, healthcare providers “shall provide appropriate auxiliary aids to persons with impaired
sensory, manual, or speaking skills, where necessary to afford such persons an equal opportunity
to benefit from the service in question. . . . For the purpose of this paragraph, auxiliary aids may
include brailled and tapedmaterial, interpreters, and other aids for persons with impaired hearing
or vtsion.” 45 c.F.R. § s4.52(d). `

37. Absent declaratory relief there is a clear risk that Defendants’ actions will '
continue to occur.

38. n Plaintiff is therefore entitled to seek and recover compensatory damages for the
injuries and loss sustained as a result of Defendant’s discriminatory conduct and deliberate
indifference as hereinbefore alleged, pursuant to 29 U.S.C. § 794(a). _

39. Plaintiff is further entitled to an award of attorneys’ fees, costs, and disbursements

 

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pursuant to the Rehabilitation Act, 29 U. S. C. § 794(a) and/or common law.

CLAIM 2: VIOLATIONS OF SECTION 1557 OF THE PATIENT PROTECTION ANI)
AFFORDABLE CARE ACT

40. Plaintiff repeats and reiterates every allegation set forth in the foregoing
paragraphs of this Complaint with the same force and effect as if more fully set forth at length
herein. n l l -

41. At all times relevant to this action, Section 1557 of the Patient Protection and
Affordable Care Act (“Section 1557”),' 42 USC § 18116 was in full force and effect and applied
to the Defendant’s conduct.

42. At all`times relevant to this action, Section 1557, 42 USC § 18116, incorporated
the definition of disability in the Rehabilitation Act, 29 U.S.C. § 705(9). 7

43.' At all times relevant to this action, Mrs. Guerra had substantial limitations to the
major life activity of hearing and speaking, and was an individual with a disability within the
meaning of the Rehabilitation Act, 29 U.S.C. § 705(9) and of Section 1557, 42 USC § 18116.

44. At all times relevant to this action, Mrs. _ Guerra’s primary language for
communication was American Sign Language and not iinglish; and Mrs. Guerra had limited
ability to read, write, speak, or understand English, and was an individual with limited English '
proficiency within the meaning of Section 1557, 45 C.F.R. § 92.4.

45 . At all times relevant to this action, Defendant received federal financial
assistance, including Medicaid reimbursements, and was principally engaged in the business of
providing health care. Therefore, Defendant’s facility is a health program or activity receiving ~
federal financial assistance pursuant to 42 U.S.C. § 181 16(a).

46. Pursuant to Section 1557, “an individual shall not, on the ground prohibited

under . . . section 504 of the Rehabilitation Act of 1973 (29 U.S.C. 794), be excluded from

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participation in, be denied the benefits of, or be subjected to discrimination under, any health
program or activity, anypart of which is receiving Federal financial assistance ._ . .” 42 USC §
18116. l

47. Defendant has discriminated against Mrs. Guerra solely on the basis of disability
and limited English proficiency by denying her meaningful access to the services, programs, and
benefits the Defendant offers to other individuals by refusing to provide auxiliary aids and
services necessary to ensure effective communication in violation of Section 1157, 42 U.S.C. §
181 16. l

48. Defendant discriminated against Mrs. Guerra by failing to ensure effective
communication through the providing of qualified sign language interpreters on-site and/or
through VRI machines that worked.

49. Absent declaratory relief there is a clear risk that Defendantis actions will recur
again. l

50. Plaintiff is therefore entitled to seek and recover compensatory damages for the
injuries and loss sustained as a result of Defendant’s discriminatory conduct and deliberate
indifference as hereinbefore alleged, pursuant to 42 U.S.C. § 18116(a).

5 l. Plaintiff` is further entitled to an award of _attorney’s fees, costs, and disbursements
pursuant to 42 U.S.C. § 18116(21), the Rehabilitation Act, 29 U.S.C. § 794(a) and/or common
law.

PRAYER FOR RELIEF
WHEREFORE, l-"laintiff respectfully prays that this Court grant the following relief

against Defendants:

 

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A. Enter a declaratory judgment, pursuant to Rule 57 of the Federal Rules of Civil
Procedure, stating that Defendants’ policies, procedures, and practices have subjected Plaintiff to
unlawful discrimination in violation of Section 1557 of the Patient Protection and Affordable
Care Act and Section 504 of the Rehabilitation Act; 7

B. Award to Plaintiff:

i. Compensatory damages pursuant to Section 1557 of the Patient Protection
and Affordable Care Act and Section 504 of the Rehabilitation Act;

ii. Reasonable costs and attorneys’ fees pursuant to the Section 1557.of the'
Patient Protection and Affordable Care Act and Section 504 of the
Rehabilitation Act;

iii. lnterest on all amounts at the highest rates and from the earliest dates
allowed by law;

iv. Any and all other relief that this Court finds necessary and appropriate

DEMAND FoR mar TRIAL

Plaintiff demands trial by jury for all of the issues a jury properly may decide, and for all

of the requested relief that a jury may award.
Dated: April 26, 2017
Respectfully Submitted,

EISENBERG & BAUM, LLP

 

Attomey ID: 206602

24 Union_ Square East, Fourth Floor
New York, NY 10003
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